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AO 106 (Rev. 04/10) Application for a Search Warrant


                                       UNITED STATES DISTRICT COURT
                                                                 for the                                                  OCT - 6 2021
                                                       Western District of Arkansas
                                                          Fort Smith Division                                           JAMIE GIANI, Clerk
                                                                                                                           Deputy Clerk

          In the Matter of the Search of                        )
                                                                )                 Case No.   d, -1 ~ I CM• - t:j;,
          Silver Samsung Galaxy J7,                             )
          Serial Number R28K13M9RBH                             )
          currently in custody of Homeland Security             )
          Investigations, Fayetteville, Arkansas,               )
          further described in Attachment A                     )

                                              APPLICATION FOR A SEARCH WARRANT

        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (ident(fy the perso11 or describe property to
be searched and give its location): SEE    ATTACHMENT A.
located in the Western District of Arkansas, there is now concealed (ident/fj• the person or describe the property to be seized):
SEE ATTACHMENT B.

         The basis for the search under Fed. R. Crim. P. 41 (c) is (check one or more):

                    ■        evidence of a crime;

                    ■ contraband, fruits of crime, or other items illegally possessed;
                    ■ property designed for use, intended for use, or used in committing a crime;
                    D      a person to be arrested or a person who is unlawfully restrained.

         The search is related to a violation of:
                 Code Section                                             Offense Description
           18 U.S.C. § 2252(a)(4)                                   Possession of Child Pornography

         The application is based on tl1cse facts: SEE AFFIDAVIT OF HSI SPECIAL AGENT MARK ADAIR


         D       Continued on the attached sheet.

         D   Delayed notice of _ _ days (give exact ending date if more than 30 days:               - - - - - - ~ is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.



                                                                        ~~-                   Applicant 's sig11ature

                                                                         Mark Adair, Special Agent, HSI
                                                                                              Primed name and title

Sworn to before me and signed in my presence.

Date: October 6, 2021
                                                                                                  Judge's signature

City and state: Fort Smith, Arkansas                                     Mark E. Ford. United States Magistrate Judge
                                                                                                Printed 11ame and title
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            AFFIDAVIT IN SUPPORT OF APPLICATION FOR SEARCH WARRANT

        I, Mark Adair, being first duly sworn, hereby depose and state as follows :

                        INTRODUCTION AND AGENT BACKGROUND

        1.       I make this Affidavit in support of an application under Rule 41 of the Federal Rules

of Criminal Procedure for a search warrant authorizing the seizure and examination of property,

namely a silver Samsung Galaxy 17, Serial Number: R28Kl 3M9RBH (hereinafter referred to as

"SUBJECT ITEM"), which is currently in the possession of Homeland Security Investigations (HSI),

and the extraction of electronically stored information, more fully described in Attachment B, from

the SUBJECT ITEM.

       2         I am a Special Agent of HSI, a component of the United States Department of

Homeland Security; and I have been employed in this capacity since June 2002. I am a graduate of

the Criminal Investigator Training Program and the U.S. Immigration and Customs Enforcement

Special Agent Training Academy. As a result of my employment with HSI, my duties include, but

are not limited to, the investigation and enforcement of Titles 8, 18, 19, 21 and 31 of the United

States Code (U.S .C.). I am an " investigative or law enforcement officer of the United States" within

the meaning defined in 18 U .S.C. § 2510(7), in that I am an agent of the United States authorized by

law to conduct investigations of, and make arrests for, federal offenses.

       3.       As part of my duties as a HSI agent, I investigate criminal violations relating to the

sexual exploitation of children, including the illegal production, distribution, transportation, receipt,

and possession of child pornography, in violation of 18 U.S.C. §§ 2251 , 2252, and 2252A. I have

received extensive training in the area of child exploitation and have observed and reviewed

numerous examples of child pornography, as defined in 18 U.S.C. § 2256, in all forms of media. I
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have been involved in numerous child pornography investigations, and I am familiar with the tactics

used by individuals who collect and distribute child pornographic material.

        4.      This Affidavit is intended to show only that there is sufficient probable cause for the

requested warrant and does not set forth all of my knowledge about this matter.

        5.      I am submitting this Affidavit in support of an application under Rule 41 of the

Federal Rules of Criminal Procedure for a search warrant to seize and examine the SUBJECT ITEM ;

and extract electronically stored information from the SUBJECT ITEM. On September 21 , 2021 ,

the SUBJECT ITEM was seized by Special Agent Mark Adair from the possession of Raymond

Frank WATSON, pursuant to probable cause that the SUBJECT ITEM contains or has contained

child sexual exploitative material (CSAM). The SUBJECT ITEM is now being stored as evidence

at HSI , Fayetteville, Arkansas office.

                                   STATUTORY AUTHORITY

       6.      Title 18, United States Code, Section 2252(a)(4) prohibits a person from knowingly

possessing or accessing with intent to view a matter which contain[s] any visual depiction that has

been mailed, or has been shipped or transported using any means or facility of interstate or foreign

commerce or in or affecting interstate or foreign commerce by any means including by computer if

(i) the producing of such visual depiction involves the use of a minor engaging in sexually explicit

conduct; and (ii) such visual depiction is of such conduct.

       7.        "Child Pornography" is defined in Title 18, United States Code, Section 2256(8) as

any visual depiction of sexually explicit conduct where (a) the production of the visual depiction

involved the use of a minor engaged in sexually explicit conduct, (b) the visual depiction is a digital

image, computer image, or computer-generated image that is, or is indistinguishable from , that of a

minor engaged in sexually explicit conduct, or (c) the visual depiction has been created, adapted, or
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modified to appear that an identifiable minor is engaged in sexually explicit conduct.

           8.       Title 18, United States Code, Section 2256(2)(A) defines "sexually explicit conduct"

to mean actual or simulated (i) sexual intercourse, including genital-genital, oral-genital, anal-

genital , or oral-anal, whether between persons of the same sex or opposite sex; (ii) bestiality; (iii)

masturbation; (iv) sadistic or masochistic abuse; or (v) lascivious exhibition of the genitals or pubic

area of any person.

                                               PROBABLE CAUSE


          9.      On May 11 , 2021 , your Affiant received a CyberTip I from National Center for

Missing and Exploited Children (NCMEC). The CyberTip had been filed by Google, Inc. (Google).

According to the CyberTip, on April 20, 2021 , at 09:26: 15 UTC, Google reviewers learned of

material believed to be CSAM stored on a Google Drive and a Google Photos account subscribed to

by Raymond WATSON. Google reported the following account descriptors:


                  a.       Mobile Phone: +147965 IXXXX (Verified 04-26-2019 23 :42 :49 UTC)
                  b.       Date of Birth: 05-XX-1960
                  c.       Email Address: f2fwatson 1978@gmail.com (Verified)
                  d.       Email Address: Fwstson53@yahoo.com

          I 0.    In reviewing the suspected CSAM material identified by Google, your Affiant noted

    the files and based on your Affiant' s training and experience believe them to meet the federal

    definition of child pornography. Two of these files are described below:

                  I.       Filename:         Google-CT-RPT-2ce4 70640380e244ae6940ab671 b608f-
                                             2015-09-20 21.49 .40_ Creampie.png
                                    a.       Original Filename Associated with File: 2015-09-20
                                             21.49.40_ Creampie.png
                                    b.       This image file depicted a young female, between the ages of
                                             7 and IO years old, laying fully nude on the floor with her

1 A CyberTip, for the purposes of this affidavit, is an electronically delivered notice that a particular account may have
transmitted, possessed or otherwise contained CSAM .
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                                           vagina fully exposed. It appeared that semen was placed on
                                           her vagina for the photograph.
                  II.      Filename:       Google-CT-RPT-4d3d5b55417ed4caba988b54cbc3ffd6-
                                           tumblr_pe80zvalcF 1xbcq72.mp4
                                   a.      Original Filename Associated with File:
                                           tumblr_pe80zvalcF 1xbcq72.mp4
                                   b.      This video is approximately 19 seconds in length and depicts a
                                           young female between the ages of 7 and l O years old
                                           performing oral sex on the penis of an unidentified male.


           11.     The CyberTip provided by NCMEC described above also contained an additional six

(6) CyberTip reports, which were reported to NCMEC by Google reviewers between April 19, 2021 ,

and April 27, 2021 , respectively. In reviewing the additional six CyberTip reports, your Affiant

observed the relevant Google account was subscribed to WATSON. Moreover, each of the CyberTip

leads contained CSAM that was located within the Google Drive and/or Google Photos application.

           12.     On May 18, 2021 , your Affiant served a Department of Homeland Security (OHS)

summons for records upon Verizon seeking subscriber information for telephone number 4 79-651-

XXXX.        On May 20, 2021 , Verizon complied with the subpoena and provided the following

information:

                  •        Account Establ ished: October 2017
                  •        Established By: Lesa AUTRY 2
                  •        Address of Record : XXX J Street, Barling, Arkansas

          13.     On May 18, 2021 , a review of law enforcement records revealed that telephone

number (479-651-XXXX) was provided to the Fort Smith Police Department on July 29, 2018, by a

complainant named "Frank Watson". In reviewing the report, the complainant (WATSON) reported

loud music at a residence in Fort Smith, Arkansas.




2
    Lesa AUTRY is the girlfriend and cohabitant of WATSON.
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        14.    On May 18, 2021 , your Affiant requested and obtained utility records for XXX J

Street, Barling, Arkansas.    In reviewing the responsive information, your Affiant noted that

WATSON ' s telephone number (479-651-XXXX) was on the record.

                                  INTERVIEW OF WATSON

       15.     On September 21 , 2021, your Affiant and HSI Special Agent J. Pryor contacted

WATSON at his place of employment in Pocola, Oklahoma.            After identifying themselves to

WATSON, your Affiant informed him of his rights per Miranda. WATSON, upon being informed

of his rights, freely and voluntarily agreed to speak with investigators. During the interview,

WATSON initially denied knowledge of the child sexual assault material on his Google accounts.

However, WATSON later changed his statement and admitted to using the account identified by

Google in the CyberTip and to receiving child sexual assault material during between 2018 and 2019.

WATSON explained that he received numerous emails from a female residing in "Croatia" that

contained the CSAM. WATSON further admitted to downloading the CSAM upon receipt, despite,

according to him, knowing that he should not (have downloaded the material). Lastly, WATSON

confirmed that his cellular telephone number was ( 4 79-651-XXXX).

                     EXECUTION OF FEDERAL SEARCH WARRANT

       16.    On September 21 , 2021 , your Affiant, along with other law enforcement officers,

executed a federal search warrant (2:21 cm81) at WA TSON ' s residence, XXX J Street, Barling,

Arkansas. WATSON accompanied law enforcement to his residence by driving his own vehicle

from his place of employment to the house.       Your Affiant and Special Agent Pryor followed

WATSON on the drive from his place of employment to the residence. WATSON subsequently

provided access to the residence through the garage door.
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        17.    An initial walk-through of the residence revealed none of the other known occupants

were present. A search of the residence then occurred in accordance with the lawfully issued federal

search warrant. Multiple electronic devices were located in the residence, which WATSON stated

he utilized. Specifically, WATSON identified two cellular telephones stored near his bedside that

possibly contained CSAM. The items were seized and transported to the HSI Fort Smith office for

processing before being transferred to the HSI Fayetteville, Arkansas for examination by Computer

Forensic Analysts.

        18.    Your affiant obtained voluntary consent from WATSON, which was documented on

a Consent to Search form signed by WATSON to search the SUBJECT ITEM described in

Attachment A. During the initial preview of the device in the field, Special Agent Pryor was made

aware of several age difficult images of pornography which appeared to have titles believed to be in

Eastern European language. At that point, Special Agent Pryor advised WATSON that the phone

would be seized due to WATSON ' s prior admission of receiving CSAM from a woman residing in

Croatia and the initial images seen during the initial field preview of the SUBJECT ITEM.


                                  TECHNICAL BACKGROUND
       19.      Based on my training, knowledge, and experience, I am aware that individuals who

commit online sexual exploitation offenses involving minors will often collect and/or view child

pornography on their cellular devices, for several reasons :

                       a       They may receive sexual gratification and satisfaction, and/or

               fantasize about sexual contact with minors by viewing minors engaged in sexual

               activity or sexually suggestive poses;

                       b.     They may collect sexually explicit or suggestive materials in a variety

               of media for their own sexual arousal and gratification.
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                      c.      They almost always possess and maintain their material in the privacy

              and security of their home or some other secure location.             Child pornography

              distributors/collectors typically retain recordings, mailing lists, child erotica and store

              their child pornography amongst other, otherwise legal media or files .            Digital

              evidence, like child pornography contraband, is different than traditional evidence

              that can be concealed, sold, used and/or destroyed and is not as volatile as other illegal

              items like narcotics; and

                     d.      Likewise, collectors of child pornography often maintain their

              collections that are in a digital or electronic format in a safe, secure, and private

              environment, such as a cellular phone and surrounding area. These collections are

              often maintained for several years and are kept close by to enable the owner to view

              the collection, which is valued highly.

                     e.      They also may correspond with and/or meet others to share

              information and materials; rarely destroy correspondence from other child

              pornography distributors/collectors; conceal such correspondence as they do their

              sexually explicit material; and often maintain lists of names, addresses, and telephone

              numbers of individuals with whom they have been in contact and who share the same

              interests in child pornography.

                     f       They generally prefer not to be without their child pornography for

              any prolonged time period. This behavior has been documented by law enforcement

              officers involved in the investigation of child pornography throughout the world.

       20.      Increasingly, individuals who produce, distribute, transport, receive, or possess

child pornography, or who attempt to commit these crimes, use mobile computing devices (cellular
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devices) to do so. These portable devices can connect to the Internet at an individual ' s residence, or

also through routers and wireless routers in various public and private locations. Mobile computing

devices and electronic storage media such as laptops, tablets, smart phones, and flash drives, often

travel with the person utilizing them and are commonly found in residences during search warrants.

        21.        I know computers serve four basic functions in connection with child pornography:

production, communication, distribution, and storage. Photographs and other digital images must be

stored as data on a computer or other digital media device using specialized software to transfer

images from a digital camera to a computer, or other electronic storage device, or by transferring

images saved onto a media card to a computer or electronic storage device.

        22.        I know that if a child pornography viewer chooses to upgrade their electronic

storage device, it is a simple process to transfer images from one device to another device. After the

photograph or other image has been transferred onto the computer, the computer stores the data from

the image as an individual "file ." Such a file is generally known as a "GIF" (Graphic Interchange

Format) or "JPEG" (for the Joint Photographic Experts Group, which wrote the standard file,

recognizable by the " .gif' or ".jpg" file extensions (hereinafter referred to as an " image file.)

Computers are capable of rendering the digital image on a computer screen, transferring the image

to another computer, and/or printing the image.

        23 .       I know that computer hardware, other digital devices, software, and electronic files

are important to a criminal investigation in two distinct ways: the objects themselves may be

contraband, evidence, instrumentalities, or fruits of a crime; and/or the objects may be used as storage

devices that contain contraband, evidence, instrumentalities, or fruits of crime in the form of

electronic data.
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        24.     In addition to offenders who collect and store child pornography, law enforcement

has encountered offenders who obtain child pornography from the Internet, view the contents, and

subsequently delete the contraband, often after engaging in self-gratification.            In light of

technological advancements, increasing Internet speeds and worldwide availability of child sexual

exploitative material, this phenomenon offers the offender a sense of decreasing risk of being

identified and/or apprehended with quantities of contraband. This type of consumer is commonly

referred to as a ' seek and delete ' offender, knowing that the same or different contraband satisfying

their interests remain easily discoverable and accessible online for future viewing and self-

gratification. I know that, regardless of whether a person discards or collects child pornography

he/she accesses for purposes of viewing and sexual gratification, evidence of such activity is likely

to be found on computers and related digital devices, including storage media, used by the person.

This evidence may include the files themselves, logs of account access events, contact lists of

others engaged in trafficking of child pornography, backup files, and other electronic artifacts that

may be forensically recoverable.

       25.      Based on my training and experience, and that of computer forensic agents that I

work and collaborate with on a daily basis, 1 know that every type and kind of information, data,

record, sound, or image can exist and be present as electronically stored information on any of a

variety of computers, computer systems, digital devices, and other electronic storage media. I also

know that electronic evidence can be moved easily from one digital device to another. As a result, I

believe that electronic evidence may be stored on the digital device ("SUBJECT ITEM") seized.

       26.      Based on my training and experience, and my consultation with computer forensic

agents who are familiar with searches of computers, I believe there is probable cause to believe that

the items set forth in Attachment B will be stored in those digital devices for a number of reasons,
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 including but not limited to the following:

                a.      Once created, electronically stored information (ESI) can be stored for years

                in very little space and at little or no cost. A great deal of ESI is created, and stored,

                moreover, even without a conscious act on the part of the device operator. For

                example, files that have been viewed via the Internet are sometimes automatically

                downloaded into a temporary Internet directory or "cache," without the knowledge of

                the device user. The browser often maintains a fixed amount of hard drive space

                devoted to these files, and the files are only overwritten as they are replaced with more

                recently viewed Internet pages or if a user takes affirmative steps to delete them. This

                ESI may include relevant and significant evidence regarding criminal activities, but

               also, and just as importantly, may include evidence of the identity of the device user,

               and when and how the device was used. Most often, some affirmative action is

               necessary to delete ES!. And even when such action has been deliberately taken, ESI

               can often be recovered, months or even years later, using forensic tools.

               b.      Wholly apart from data created directly (or indirectly) by user-generated files,

               digital devices - in particular, a computer's internal hard drive - contain electronic

               evidence of how a digital device has been used, what it has been used for , and who

               has used it. This evidence can take the form of operating system configurations,

               artifacts from operating systems or application operations, file system data structures,

               and virtual memory "swap" or paging files. Computer users typically do not erase or

               delete this evidence, because special software is typically required for that task.

               However, it is technically possible for a user to use such specialized software to delete

               this type of information - and the use of such special software may itself result in ESI
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               that is relevant to the criminal investigation. In particular, to properly retrieve and

               analyze electronically stored (computer) data, and to ensure accuracy and

               completeness of such data and to prevent loss of the data either from accidental or

               programmed destruction, it is necessary to conduct a forensic examination of the

               computers. To affect such accuracy and completeness, it may also be necessary to

               analyze not only data storage devices, but also peripheral devices which may be

               interdependent, the software to operate them, and related instruction manuals

               containing directions concerning operation of the computer and software.

       27.      Forensic evidence. As further described in Attachment B, this application seeks

permission to locate not only electronically stored information that might serve as direct evidence of

the crimes described on the warrant, but also forensic evidence that establishes how the SUBJECT

ITEM was used, the purpose of its use, who used it, and when. There is probable cause to believe

that this forensic electronic evidence might be on the SUBJECT ITEM because:

                      a.      Data on the storage medium can provide evidence of a file that was

              once on the storage medium but has since been deleted or edited, or of a deleted

              portion of a file (such as a paragraph that has been deleted from a word processing

              file). Virtual memory paging systems can leave traces of information on the storage

              medium that show what tasks and processes were recently active. Web browsers, e-

              mail programs, and chat programs store configuration information on the storage

              medium that can reveal information such as online nicknames and passwords.

              Operating systems can record additional information, such as the attachment of

              peripherals, the attachment of USB flash storage devices or other external storage

              media, and the times the computer was in use. Computer file systems can record
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              information about the dates files were created and the sequence in which they were

              created.

                      b.       Forensic evidence on a device can also indicate who has used or

              controlled the device. This "user attribution" evidence is analogous to the search for

              " indicia of occupancy" while executing a search warrant at a residence.

                      c.       A person with appropriate familiarity with how an electronic device

              works may, after examining this forensic evidence in its proper context, be able to

              draw conclusions about how electronic devices were used, the purpose of their use,

              who used them, and when.

                     d.        The process of identifying the exact electronically stored information

              on a storage medium that are necessary to draw an accurate conclusion is a

              dynamic process. Electronic evidence is not always data that can be merely reviewed

              by a review team and passed along to investigators. Whether data stored on a

              computer is evidence may depend on other information stored on the computer and

              the application of knowledge about how a computer behaves. Therefore, contextual

              information necessary to understand other evidence also falls within the scope of the

              warrant.

                     e.        Further, in finding evidence of how a device was used, the purpose of

              its use, who used it, and when, sometimes it is necessary to establish that a particular

              thing is not present on a storage medium .

       28.     Nature of examination.        Based on the foregoing, and consistent with Rule

41 (e)(2)(B), the warrant I am applying for would permit the examination of the SUBJECT ITEM

consistent with the warrant.    The examination may require authorities to employ techniques,
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including but not limited to computer-assisted scans of the entire medium, that might expose many

parts of the SUBJECT ITEM to human inspection in order to determine whether it is evidence

described by the warrant.

                                           CONCLUSION
       29.      Based on the National Center for Missing and Exploited Children (NCMEC) Cyber

Tipline Reports, information discovered from the search warrant executed on the Google account of

Raymond WATSON, and admissions made by Watson during a mirandized interview, I submit that

this· Affidavit supports probable cause for a search warrant authorizing the examination of the

SUBJECT ITEM described in Attachment A to seek the items described in Attachment B as there is

probable cause to believe that the SUBJECT ITEM contains evidence of violations of Title 18,

United States Code, Section 2252 (a)(4).




                                                                                  ____,
                                                Mark Adair, HSI Special Agent


       Sworn and subscribed before me this 6th day of October 2021.


                                                     ~ t. ~
                                                Honorable Mark E. Ford
                                                United States Magistrate Judge
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                                       ATTACHMENT A

       The property to be searched is described as a silver Samsung Galaxy J7, Serial Number:

R28K 13M9RBH cellular telephone.       The cellular telephone is currently in the possession of

Homeland Security Investigations, located at: 3419 N. Plainview Avenue, Fayetteville, Arkansas.

This warrant authorizes the forensic examination of the described and photographed cellular

telephone for the purpose of locating the electronically stored information described in Attachment

B.
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                                      ATTACHMENT B
                     ITEMS TO BE SEARCHED FOR AND SEIZED

 a.     Any and all images of suspected child pornography and files containing images of
        suspected child pornography, any and all images believed to be an attempt to produce
        child pornography, in any form wherever it may be stored or found including, but not
        limited to:

      1.      originals, thumbnails, and copies of visual depictions of minors engaged in sexually
              explicit conduct, as defined in 18 U.S.C. § 2256; and

      11.     videos (AKA motion pictures, films, film negatives), and other recordings or visual
              depictions of minors engaged in sexually explicit conduct, as defined in I 8
              u.s.c. § 2256;
      111.    Images self-produced of the defendant and minors, and attempts to take or produce
              such;

      1v.     Images of children, nude or otherwise, possessed, sent, received, or via message,
              email, or otherwise stored on the phone

      v.      Internet history, including CACHE memory related to internet searches for child
              pornography or websites that could pertain such.

 b.   information or correspondence pertaining to the solicitation of others for sexual activity
      involving minors, and any and all information, messages, etc. related to the sexual
      exploitation of children, including but not limited to :


      1.     correspondence including, but not limited to, electronic mail, chat logs, and
             electronic messages, text messages, establishing possession, identity of individuals,
             access to, or transmission through interstate or foreign commerce, including by
             United States mail or by computer, of visual depictions of minors engaged m
             sexually explicit conduct, as defined in 18 U.S.C. § 2256;


      11.    records bearing on the production, reproduction, receipt, shipment, orders, requests,
             trades, purchases, or transactions of any kind involving the transmission through
             interstate or foreign commerce including by United States mail or by computer of
             any visual depiction of minors engaged in sexually explicit conduct, as defined in
             18 U.S.C. § 2256;
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       111.   Any and all address lists, names, contact information of minors visually depicted
              while engaged in sexually explicit conduct, as defined in Title 18, United States
              Code, Section 2256; and/or any information evidencing contact or correspondence
              with minors or adults in whatever form .

       1v.    Any and all chat log, text messages, email, or any type of communication in any
              form that is related to the sexual exploitation of minors for sexual purposes or
              related to the production, distribution, or possession of child pornography.


 c.    Any and all security devices, to include encryption devices, needed to gain access to the
       devices;

 d.    Any and all address lists, names, contact information of minors visually depicted while
       engaged in sexually explicit conduct, as defined in Title 18, United States Code, Section
       2256; and/or any information evidencing contact or correspondence with minors or adults
       in whatever form .

 e.   Any and all recordings, including those made by the defendant or the minor victim, or
      anyone else that depicts the defendant or others engaging in sexually explicit conduct of
      any type.

 f.   In searching the data, the computer personnel may examine and copy all of the data
      contained in the subject item to view their precise contents and determine whether the data
      falls within the items to be seized. In addition, the examining personnel may search for and
      attempt to recover deleted, hidden, or encrypted data to determine whether the data falls
      within the list of items to be seized.
